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                        UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
 ______________________________________________________________________

 UNITED STATES OF AMERICA,                           Criminal No. 09-327 (2) (JRT/RLE)

                                  Plaintiff,

 v.                                                              ORDER

 TYTUS AHTUSHMIT BASSETT,

                         Defendant.
 ______________________________________________________________________

       Christopher Wolfe, Assistant United States Attorneys, OFFICE OF THE
       UNITED STATES ATTORNEY, 300 South Fourth Street, Suite 600,
       Minneapolis, MN 55415, for plaintiff.

       Bruce Rivers, RIVERS & ASSOCIATES, PA, 100 North Sixth Street,
       Suite 280B, Minneapolis, MN 55403, for defendant.


       This matter is before the Court upon the defendant’s motion to exclude the period

of time from the date of this order through April 1, 2010 from the Speedy Trial Act

computations in this case. Pursuant to 18 U.S.C. § 3161(h)(8)(A), the Court finds that the

ends of justice served by the granting of such continuance outweigh the best interest of

the public and the defendant in a speedy trial. This finding is based on the facts set forth

in the Defendant’s Statement of Facts in Support of Exclusion of Time Under Speedy

Trial Act and in the accompanying motion.

       Based on all the files, records and proceedings herein, IT IS HEREBY

ORDERED that:
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      1)       The defendant’s motion to exclude time under the Speedy Trial Act

               [Docket No. 68] is GRANTED.

      2)       The Change of Plea hearing is rescheduled to April 12, 2010 at 10:00

               a.m. The time from the date of this order to the date trial begins, or

               defendant enters a change of plea shall be excluded from the Speedy

               Trial Act computations in this case.



Dated: March 4, 2010
at Minneapolis, Minnesota                     _   s/ John R. Tunheim ____
                                                JOHN R. TUNHEIM
                                              United States District Judge
